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                                 IN THE UNITED STATES BANUPTCY COURT

                                     FOR THE DISTRICT OF DELAWAR

In re:                                                    )         Chapter 1 1
                                                          )
W. R. GRACE & CO., et al.,l                               )         Case No. 01-01139 (JK)
                                                          )         Jointly Administered
                        Debtors.                          )

                                            AFFIDAVIT OF SERVICE


                        Lyny Oberholzer, being duly sworn according to law, deposes and says that she

is employed by the law firm of          Pachulski Stang Ziehl & Jones LLP, co-counsel for the Debtors

in the above-captioned action, and that on the zih day of January, ZO 1 0, she caused a copy of the


following document to be served upon the attached service list in the maner indicated:




I The Debtors consist of
                          the following 62 entities: W. R. Grace & Co. (f/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amcon, Inc., CB Biomedical, Inc. (f/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (f/a Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (f/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/a GHSC Holding, Inc., Grace NH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Momoe Street, Inc., MRA Holdings Corp. (f/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (f/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Parters (f/a Cross
Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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         Application of the Law Offices of Janet S. Baer, P.c. for Compensation for Services
         and Reimbursement of Expenses as Bankruptcy Counsel to W.R. Grace & Co., et
         aI., for the Monthly Interim Period from December 1, 2009 through December 31,
         2009.




                                           -
                              SCRIED
                              f January, 2010.


                                        MONICA A. MOLITOR
                                   Notary Public - State of Delaware
                                   My Comm. Expires July 20, 2010




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